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   1 Robert V. Prongay (SBN 270796)
        rprongay@glancylaw.com
   2 Charles Linehan (SBN 307439)
        clinehan@glancylaw.com
   3 Pavithra Rajesh (SBN 323055)
        prajesh@glancylaw.com
   4 GLANCY PRONGAY & MURRAY LLP
       1925 Century Park East, Suite 2100
   5 Los Angeles, California 90067
       Telephone: (310) 201-9150
   6 Facsimile: (310) 201-9160

   7 Counsel for Plaintiff Tad Park

   8

   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11

  12 TAD      PARK, Individually and on           Case No.
       Behalf of All Others Similarly Situated,
  13                                              CLASS ACTION COMPLAINT
                   Plaintiff,                     FOR VIOLATIONS OF THE
  14                                              FEDERAL SECURITIES LAWS
             v.
  15
       SONDER HOLDINGS INC.,                      DEMAND FOR JURY TRIAL
  16 FRANCIS DAVIDSON, SANJAY
       BANKER, CHRIS BERRY and
  17 DOMINIQUE BOURGAULT,

  18               Defendants.
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   1        Plaintiff Tad Park (“Plaintiff”), individually and on behalf of all others
   2 similarly situated, by and through his attorneys, alleges the following upon

   3 information and belief, except as to those allegations concerning Plaintiff, which are

   4 alleged upon personal knowledge. Plaintiff’s information and belief is based upon,

   5 among other things, his counsel’s investigation, which includes without limitation:

   6 (a) review and analysis of regulatory filings made by Sonder Holdings Inc.

   7 (“Sonder” or the “Company”) with the United States (“U.S.”) Securities and

   8 Exchange Commission (“SEC”); (b) review and analysis of press releases and media

   9 reports issued by and disseminated by Sonder; and (c) review of other publicly
  10 available information concerning Sonder.

  11                  NATURE OF THE ACTION AND OVERVIEW
  12        1.    This is a class action on behalf of persons and entities that purchased or
  13 otherwise acquired Sonder securities between May 11, 2022 and March 15, 2024,

  14 inclusive (the “Class Period”). Plaintiff pursues claims against the Defendants under

  15 the Securities Exchange Act of 1934 (the “Exchange Act”).

  16        2.    Sonder is a hospitality services business which operates and manages
  17 properties comprised of apartments and hotel rooms in North America, Europe, and

  18 the Middle East. The Company leases properties and makes them available to book

  19 either directly, through the Sonder app, website, and sales personnel, or through

  20 indirect channels, such as Airbnb, Expedia, and Booking.com. As of September 30,

  21 2023, the Company purported to lease all of its property and have approximately

  22 11,800 units available for guests to book at over 250 properties.

  23        3.    On March 15, 2024, after the market closed, the Company disclosed it
  24 had identified an “accounting error” related to the Company’s valuation of certain

  25 assets and related items, and as a result the Company’s financial statements for the

  26 year ended December 31, 2022 and throughout fiscal year 2023 could no longer be

  27 relied upon. The Company stated the valuation of certain right-of-use (“ROU”) lease

  28 assets and related items had not considered relevant impairment indications and

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   1 related valuation information required by Accounting Standards Codification

   2 (“ASC”) No. 842, and related standards.         The Company further explained that,
   3 though it had recorded one impairment charge once in the third quarter of 2023, no

   4 impairment charges were recorded in the other interim financial statements in 2023

   5 or in the 2022 financial statements. The Company disclosed, as a result, it would

   6 have to restate certain finances and such restatements would increase the

   7 Company’s overall net loss and loss per share in the impacted periods. The

   8 Company additionally disclosed that the Company anticipated a review would

   9 reveal one or more additional material weaknesses in the Company’s internal
  10 control over financial reporting, in addition to the Company’s previously identified

  11 and reported material weaknesses. The Company further disclosed that, as a result, it

  12 would not timely file its Annual Report for the year ended December 31, 2023.

  13 Finally, the Company disclosed the restatement and related items could have an

  14 adverse effect upon the Company’s debt, as the Company would now have to seek

  15 waivers of noncompliance under the terms of its debt resulting from the accounting

  16 errors.

  17        4.     On this news, Sonder’s stock price fell $2.10 per share, or 38.2%, to
  18 close at $3.40 per share on March 18, 2024, on unusually heavy trading volume.

  19        5.     Throughout the Class Period, Defendants made materially false and/or
  20 misleading statements, as well as failed to disclose material adverse facts about the

  21 Company’s business, operations, and prospects. Specifically, Defendants made

  22 materially false and/or misleading statements or failed to disclose to investors: (1)

  23 Sonder was not recognizing ROU assets and lease liabilities on its balance sheet in

  24 accordance with ASC 842; (2) Sonder’s financial statements contained material

  25 errors in the valuation and impairment of operating lease ROU assets; (3) Sonder

  26 had undisclosed internal control failures; (4) as a result of the foregoing, Sonder was

  27 not in compliance with all financial covenants; (5) that, as a result of the foregoing,

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   1 Defendants’ positive statements about the Company’s business, operations, and

   2 prospects were materially misleading and/or lacked a reasonable basis.

   3          6.      As a result of Defendants’ wrongful acts and omissions, and the
   4 precipitous decline in the market value of the Company’s securities, Plaintiff and

   5 other Class members have suffered significant losses and damages.

   6                              JURISDICTION AND VENUE
   7          7.      The claims asserted herein arise under Sections 10(b) and 20(a) of the
   8 Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

   9 thereunder by the SEC (17 C.F.R. § 240.10b-5).
  10          8.      This Court has jurisdiction over the subject matter of this action
  11 pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. §

  12 78aa).

  13          9.      Venue is proper in this Judicial District pursuant to 28 U.S.C. §
  14 1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts

  15 in furtherance of the alleged fraud or the effects of the fraud have occurred in this

  16 Judicial District. Many of the acts charged herein, including the dissemination of

  17 materially false and/or misleading information, occurred in substantial part in this

  18 Judicial District. Further, the Company’s principal executive offices are located in

  19 this District.

  20          10.     In connection with the acts, transactions, and conduct alleged herein,
  21 Defendants directly and indirectly used the means and instrumentalities of interstate

  22 commerce, including the United States mail, interstate telephone communications,

  23 and the facilities of a national securities exchange.

  24                                          PARTIES
  25          11.     Plaintiff Tad Park, as set forth in the accompanying certification,
  26 incorporated by reference herein, purchased Sonder securities during the Class

  27 Period, and suffered damages as a result of the federal securities law violations and

  28 false and/or misleading statements and/or material omissions alleged herein.

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   1        12.   Defendant Sonder is incorporated under the laws of Delaware with its
   2 principal executive offices located in San Francisco, California. Sonder’s securities

   3 trade on the NASDAQ exchange under the symbol “SOND.”

   4        13.   Defendant Francis Davidson (“Davidson”) has served as the
   5 Company’s Co-Founder and Chief Executive Officer (“CEO”) at all relevant times.

   6        14.   Defendant Sanjay Banker (“Banker”) served as the Company’s Chief
   7 Financial Officer (“CFO”) from 2019 until December 31, 2022.

   8        15.   Defendant Chris Berry (“Berry”) served as the Company’s Interim
   9 Principal Financial Officer from January 23, 2023 until March 17, 2023. Berry has
  10 also served as the Company’s Chief Accounting Officer from August 1, 2022 until

  11 August 18, 2023.

  12        16.   Defendant Dominique Bourgault (“Bourgault”) has served as the
  13 Company’s CFO since March 6, 2023, and was appointed the Principal Financial

  14 Officer on March 17, 2023.

  15        17.   Defendants Davidson, Banker, Berry, and Bourgault (collectively the
  16 “Individual Defendants”), because of their positions with the Company, possessed

  17 the power and authority to control the contents of the Company’s reports to the

  18 SEC, press releases and presentations to securities analysts, money and portfolio

  19 managers and institutional investors, i.e., the market. The Individual Defendants

  20 were provided with copies of the Company’s reports and press releases alleged

  21 herein to be misleading prior to, or shortly after, their issuance and had the ability

  22 and opportunity to prevent their issuance or cause them to be corrected. Because of

  23 their positions and access to material non-public information available to them, the

  24 Individual Defendants knew that the adverse facts specified herein had not been

  25 disclosed to, and were being concealed from, the public, and that the positive

  26 representations which were being made were then materially false and/or

  27 misleading. The Individual Defendants are liable for the false statements pleaded

  28 herein.

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   1                              SUBSTANTIVE ALLEGATIONS
   2                                           Background
   3          18.    Sonder is a hospitality services business which operates and manages
   4 properties comprised of apartments and hotel rooms in North America, Europe, and

   5 the Middle East. The Company leases properties and makes them available to book

   6 either directly, through the Sonder app, website, and sales personnel, or through

   7 indirect channels, such as Airbnb, Expedia, and Booking.com. As of September 30,

   8 2023, the Company purported to lease all of its property and have approximately

   9 11,800 units available for guests to book at over 250 properties.
  10                               Materially False and Misleading
  11                         Statements Issued During the Class Period
  12          19.    The Class Period begins on May 11, 2022. On that day, Sonder issued a
  13 Shareholder Letter announcing its financial results for the quarter ended March 31,

  14 2022, which alleged that the Company’s held $1,629,358 in total assets, $1,133,809

  15 in operating lease right-of-use-assets, $143,014 in current operating lease liabilities,

  16 and $1,070,896 in non-current operating lease liabilities, and stated the following, in

  17 relevant part: 1

  18          Effective January 1, 2022, Sonder adopted new leasing accounting
              standard ASC 842 / IFRS 16, which recognizes right-of-use assets
  19          and lease liabilities on our balance sheet for all operating leases,
              increasing both assets and liabilities.
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              20.    On May 16, 2022, Sonder filed its quarterly report on Form 10-Q for
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       the period ended March 31, 2022 (the “1Q22 10-Q”). The 1Q22 10-Q affirmed the
  22
       Company’s previously reported financial results. The 1Q22 10-Q alleged that “[a]s
  23
       of March 31, 2022, Sonder was in compliance with all financial covenants[.]”
  24
              21.    The 1Q22 10-Q alleged, in relevant part, the following concerning the
  25
       Company’s right-of-use lease assets and the calculation thereof:
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       Unless otherwise stated, all emphasis in bold and italics hereinafter is added, and all footnotes
  28 are omitted.

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   1        Sonder adopted ASC 842 as of January 1, 2022 using the modified
            retrospective approach.
   2                                      *    *      *
            Operating lease right-of-use (ROU) assets are included within
   3        operating lease right-of-use assets in the condensed consolidated
            balance sheet. The corresponding operating lease liabilities are
   4        included within current operating lease liabilities and non-current
            operating lease liabilities on Sonder’s condensed consolidated balance
   5        sheet as of March 31, 2022. ROU assets represent Sonder’s right to use
            an underlying asset for the lease term and lease liabilities represent
   6        Sonder’s obligation to make lease payments arising from the lease.
   7                                       *      *       *
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  15        22.    The 1Q22 10-Q asserted that the Company was “developing formal
  16 policies and procedures over its lease administration process, implementing a

  17 lease administration and accounting system, and providing additional training to

  18 personnel responsible for the relevant controls” in order to assist its internal

  19 controls over financial reporting.

  20        23.     On August 10, 2022 Sonder issued a Shareholder Letter announcing
  21 its financial results for the quarter ended June 30, 2022, which reported that the

  22 Company held $1,559,414 in total assets, $1,109,208 in operating lease right-of-use-

  23 assets, $152,064 in current operating lease liabilities, and $1,050,285 in non-current

  24 operating lease liabilities, as reported under leasing accounting standard ASC 842,

  25 “which recognizes right-of-use assets and lease liabilities on our balance sheet for

  26 all operating leases, increasing both assets and liabilities.”

  27        24.     On August 12, 2022, Sonder filed its quarterly report on Form 10-Q
  28 for the period ended June 30, 2022 (the “2Q22 10-Q”). The 2Q22 10-Q affirmed the

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   1 previously reported financial results. The 2Q22 10-Q alleged that “[a]s of June 30,

   2 2022, Sonder was in compliance with all financial covenants.”

   3         25.    The 2Q22 10-Q alleged, in relevant part, that “Sonder implemented
   4 ASC 842 as of January 1, 2022” and “Sonder applied Topic 842 to all leases as of

   5 January 1, 2022.” The 2Q22 10-Q reported the Company’s alleged ROU assets, as

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       follows in relevant part:
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             26.    The 2Q22 10-Q further asserted that the Company had “engaged a third
  16
       party consultant and have developed formal policies and procedures over our lease
  17
       administration process, implemented a lease administration and accounting
  18
       system, and provided additional training to personnel responsible for the relevant
  19
       controls” in order to assist its internal controls over financial reporting.
  20
             27.    On November 9, 2022, Sonder issued a Shareholder Letter announcing
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       its financial results for the quarter ended September 30, 2022, which stated that the
  22
       Company held $1,532,532 in total assets and $1,139,713 in operating lease right-of-
  23
       use-assets, $146,550 in current operating lease liabilities, and $1,082,412 in non-
  24
       current operating lease liabilities, as reported under leasing accounting standard
  25
       ASC 842, “which recognizes right-of-use assets and lease liabilities on our balance
  26
       sheet for all operating leases, increasing both assets and liabilities.”
  27
             28.      On November 10, 2022, Sonder filed its quarterly report on Form 10-
  28
       Q for the period ended September 30, 2022 (the “3Q22 10-Q”). The 3Q22 10-Q
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   1 affirmed the previously reported financial results. The 3Q22 10-Q alleged that “[a]t

   2 September 30, 2022 and December 31, 2021, the Company was in compliance with

   3 all financial covenants.”

   4        29.    The 3Q22 10-Q alleged, in relevant part, that “[t]he Company adopted
   5 ASC 842, Leases (“ASC 842”), effective January 1, 2022,” and “Operating lease

   6 ROU assets are included within operating lease right-of-use assets in the condensed

   7 consolidated balance sheets.” The 3Q22 10-Q          reported the Company’s alleged
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  15 ROU assets as follows, in relevant part:

  16        30.    The 3Q22 10-Q further asserted that the Company had “engaged a third
  17 party consultant and have developed formal policies and procedures over our lease

  18 administration process, implemented a lease administration and accounting

  19 system, and provided additional training to personnel responsible for the relevant

  20 controls” in order to assist its internal controls over financial reporting, and that

  21 “[a]nalysis and testing of the controls will be performed throughout the remainder of

  22 2022.”

  23        31.    On March 1, 2023 Sonder issued a Shareholder Letter announcing its
  24 financial results for the quarter and year ended December 31, 2022, which stated

  25 that the Company held $1,553,671 in total assets, $1,189,545 in operating lease

  26 right-of-use-assets, $158,580 in current operating lease liabilities, and $1,143,538 in

  27 non-current operating lease liabilities, as reported under leasing accounting standard

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  1 ASC 842, “which recognizes right-of-use assets and lease liabilities on our balance

  2 sheet for all operating leases, increasing both assets and liabilities.”

  3         32.    On March 16, 2023, Sonder filed its annual report on Form 10-K for
  4 the fiscal year ended December 31, 2022 (the “FY22 10-K”). The FY22 10-K

  5 affirmed the Company’s previously reported financial results and stated “[a]t

  6 December 31, 2022, the Company was in compliance with all financial covenants

  7 related to the 2022 Loan and Security Agreement.”

  8         33.    The FY22 10-K alleged that “[t]he Company adopted ASC 842, Leases
  9 (“ASC 842”), effective January 1, 2022, using the modified retrospective approach.”
 10 The FY22 10-K alleged the following, in relevant part, as related to the Company’s

 11 ROU reporting:

 12          Operating lease ROU assets are included within operating lease right-
            of-use assets in the consolidated balance sheets. The corresponding
 13         operating lease liabilities are included within current operating lease
            liabilities and non-current operating lease liabilities in the consolidated
 14         balance sheets.
 15         34.    The FY22 10-K reported the Company’s ROU assets, as follows, in
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 23
      relevant part:
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  1         35.    The FY22 10-K reported the Company’s components of operating lease
  2 expenses and supplemental information related to ROU assets, as follows:

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            36.    The FY22 10-K further asserted the following concerning the
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      Company’s internal controls over financial reporting, in relevant part:
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            Management, including our Principal Executive Officer and Principal
 16         Financial Officer, is responsible for establishing and maintaining
            adequate internal control over financial reporting as defined in Rules
 17         13a-15(f) and 15d-15(f) under the Exchange Act. Our internal control
            over financial reporting is a process designed to provide reasonable
 18         assurance regarding the reliability of our financial reporting and the
            preparation of our financial statements for external purposes in
 19         accordance with U.S. GAAP.
 20                                      *      *        *
 21         [M]anagement, including our Principal Executive Officer and Principal
            Financial Officer, believes the consolidated financial statements
 22         included in this Annual Report on Form 10-K fairly represent in all
            material respects our financial condition, results of operations, and
 23         cash flows at and for the periods presented in accordance with U.S.
            GAAP.
 24
            37.    On March 22, 2023, Sonder filed an amendment to its annual report on
 25
      Form 10-K/A for the period ended December 31, 2022 (the “FY22 10-K/A”). The
 26
      FY22 10-K/A affirmed the previously reported financial results and was submitted
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  1 only for the purpose of amending Part III, Items 10, 11, 12, 13 and 14 of the

  2 Original Filing to include the information required by such Items.

  3        38.    On May 10, 2023, Sonder issued a Shareholder Letter announcing its
  4 financial results for the quarter ended March 31, 2023, which reported that the

  5 Company held $1,521,460 in total assets and $1,201,007 in operating lease right-of-

  6 use-assets, $172,422 in current operating lease liabilities, and $1,156,913 in non-

  7 current operating lease liabilities, reported under leasing accounting standard ASC

  8 842, “which recognizes right-of-use assets and lease liabilities on our balance sheet

  9 for all operating leases, increasing both assets and liabilities.”
 10        39.    On May 10, 2023, Sonder filed its quarterly report on Form 10-Q for
 11 the period ended March 31, 2023 (the “1Q23 10-Q”). The 1Q23 10-Q affirmed the

 12 previously reported financial results. The 1Q23 10-Q alleged that “the Company is

 13 in compliance with all financial covenants related to the 2022 Loan and Security

 14 Agreement, as amended, as of the date the condensed consolidated financial

 15 statements were issued.”

 16        40.    The 1Q23 10-Q also alleged, in relevant part, the following regarding
 17 the Company’s ROU asset reporting:

 18        Operating lease ROU assets are included within operating lease right-
           of-use assets in the consolidated balance sheets. The corresponding
 19        operating lease liabilities are included within current operating lease
           liabilities and non-current operating lease liabilities in the consolidated
 20        balance sheets. ROU assets represent the Company’s right to use an
           underlying asset for the lease term and lease liabilities represent the
 21        Company’s obligation to make lease payments arising from the lease.
 22        41.    1Q23 10-Q reported the following concerning the Company’s alleged
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  1 ROU assets:

  2

  3         42.    The 1Q23 10-Q further asserted that the Company had purportedly
  4 “identified improvements related to our lease process to capture and record lease

  5 agreements timely and accurately” and that the Company “will provide additional

  6 training to personnel responsible for the relevant controls” in order to assist its

  7 internal controls over financial reporting.

  8         43.     On August 9, 2023, Sonder issued a Shareholder Letter announcing its
  9 financial results for the quarter ended June 30, 2023, which reported that the
 10 Company held $1,607,859 in total assets and $1,308,719 in operating lease right-of-

 11 use-assets, $183,487 in current operating lease liabilities, and $1,259,207 in non-

 12 current operating lease liabilities, reported under leasing accounting standard ASC

 13 842, “which recognizes right-of-use assets and lease liabilities on our balance sheet

 14 for all operating leases, increasing both assets and liabilities.”

 15         44.    On August 9, 2023, Sonder filed its quarterly report on Form 10-Q for
 16 the period ended August 9, 2023 (the “2Q23 10-Q”). The 2Q23 10-Q affirmed the

 17 previously reported financial results. The 2Q23 10-Q alleged that “the Company is

 18 in compliance with all financial covenants related to the 2022 Loan and Security

 19 Agreement, as amended, as of the date the condensed consolidated financial

 20 statements were issued.”

 21         45.   The 2Q23 10-Q alleged, in relevant part, the following concerning the
 22 Company’s reporting of ROU assets:

 23         Operating lease ROU assets are included within operating lease
            right-of-use assets in the condensed consolidated balance sheets. The
 24         corresponding operating lease liabilities are included within current
            operating lease liabilities and non-current operating lease liabilities in
 25         the condensed consolidated balance sheets. ROU assets represent the
            Company’s right to use an underlying asset for the lease term and lease
 26         liabilities represent the Company’s obligation to make lease payments
            arising from the lease.
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  1         46.     The 2Q23 10-Q reported the following concerning the Company’s
  2 alleged ROU assets:

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 10         47.     The 2Q23 10-Q further asserted that the Company had “identified
 11 improvements related to our lease process to capture and record lease agreements

 12 timely and accurately” and that the Company “will provide additional training to

 13 personnel responsible for the relevant controls” in order to assist its internal controls

 14 over financial reporting.

 15         48.     On November 14, 2023, Sonder issued a Shareholder Letter
 16 announcing its financial results for the quarter ended September 30, 2023, which

 17 reported that the Company held $1,716,337 in total assets, $1,439,572 in operating

 18 lease right-of-use-assets, $199,345 in current operating lease liabilities, and

 19 $1,382,693 in non-current operating lease liabilities, reported under leasing

 20 accounting standard ASC 842, “which recognizes right-of-use assets and lease

 21 liabilities on our balance sheet for all operating leases, increasing both assets and

 22 liabilities.”

 23         49.     On November 14, 2023, Sonder filed its quarterly report on Form 10-Q
 24 for the period ended September 30, 2023 (the “3Q23 10-Q”). The 3Q23 10-Q

 25 affirmed the previously reported financial results. The 3Q23 10-Q alleged that “[t]he

 26 Company is in compliance with all financial covenants related to the 2022 Loan and

 27 Security Agreement[.]”

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  1         50.    The 3Q23 10-Q alleged, in relevant part, the following concerning the
  2 Company’s ROU reporting:

  3         Operating lease ROU assets are included within operating lease
            right-of-use assets in the condensed consolidated balance sheets. The
  4         corresponding operating lease liabilities are included within current
            operating lease liabilities and non-current operating lease liabilities in
  5         the condensed consolidated balance sheets. ROU assets represent the
            Company’s right to use an underlying asset for the lease term and lease
  6         liabilities represent the Company’s obligation to make lease payments
            arising from the lease.
  7
            51.    The 3Q23 10-Q reported, in relevant part, the following alleged ROU
  8
      assets:
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            52.     The 3Q23 10-Q further asserted that the Company had “identified
 17
      improvements related to our lease process to capture and record lease agreements
 18
      timely and accurately that we began to implement in 2023” in order to assist its
 19
      internal controls over financial reporting.
 20
            53.    The above statements identified in ¶¶ 19-52 were materially false
 21
      and/or misleading, and failed to disclose material adverse facts about the Company’s
 22
      business, operations, and prospects. Specifically, Defendants made materially false
 23
      and/or misleading statements or failed to disclose to investors: (1) Sonder was not
 24
      recognizing ROU assets and lease liabilities on its balance sheet in accordance with
 25
      ASC 842; (2) Sonder’s financial statements contained material errors in the
 26
      valuation and impairment of operating lease ROU assets; (3) Sonder had
 27
      undisclosed internal control failures; (4) as a result of the foregoing, Sonder was not
 28

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  1 in compliance with all financial covenants; (5) that, as a result of the foregoing,

  2 Defendants’ positive statements about the Company’s business, operations, and

  3 prospects were materially misleading and/or lacked a reasonable basis.

  4                      Disclosures at the End of the Class Period
  5        54.    On March 15, 2024, after the market closed, the Company disclosed it
  6 had identified an “accounting error” related to the Company’s valuation of certain

  7 assets and related items, and as a result the Company’s financial statements for the

  8 year ended December 31, 2022 and throughout fiscal year 2023 could no longer be

  9 relied upon. The Company stated the valuation of certain ROU lease assets and
 10 related items had not considered relevant impairment indications and related

 11 valuation information required by ASC No. 842, and related standards.           The
 12 Company further explained that, though it had recorded one impairment charge once

 13 in the third quarter of 2023, no impairment charges were recorded in the other

 14 interim financial statements in 2023 or in the 2022 financial statements. The

 15 Company disclosed, as a result, it would have to restate certain finances and such

 16 restatements would increase the Company’s overall net loss and loss per share in the

 17 impacted periods. The Company additionally disclosed that the Company

 18 anticipated a review would reveal one or more additional material weaknesses in the

 19 Company’s internal control over financial reporting, in addition to the Company’s

 20 previously identified and reported material weaknesses. The Company further

 21 disclosed that, as a result, it would not timely file its Annual Report for the year

 22 ended December 31, 2023. Finally, the Company disclosed the restatement and

 23 related items could have an adverse effect upon the Company’s debt, as the

 24 Company would now have to seek waivers of noncompliance under the terms of its

 25 debt resulting from the accounting errors.

 26        55.    Specifically, on that date the Company filed a form 8-K with the SEC,
 27 reporting a “Non-Reliance on Previously Issued Financial Statements” which stated

 28 in relevant part:

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  1       On March 14, 2024, the Audit Committee (the “Audit Committee”) of
          the Board of Directors of the Company determined, based on
  2       management’s recommendation, that the Company’s audited
          consolidated financial statements for the year ended December 31,
  3       2022 (the “2022 Annual Financial Statements”), and the unaudited
          condensed consolidated financial statements included in each of the
  4       Company’s quarterly reports on Form 10-Q filed with the Securities
          and Exchange Commission (the “SEC”) in 2023 (collectively with the
  5       2022 Annual Financial Statements, the “Affected Financial
          Statements”), should no longer be relied upon due to accounting errors
  6       related to the valuation and impairment of operating lease right of use
          (“ROU”) assets and related items. In this report, the periods covered by
  7       the Affected Financial Statements are referred to as the “Non-Reliance
          Periods.”
  8
          Any previously issued or filed reports, earnings releases, and investor
  9       presentations or other communications including or describing the
          Affected Financial Statements and related financial information
 10       covering the Non-Reliance Periods should no longer be relied upon.
          Similarly, the report of the Company’s independent registered public
 11       accounting firm accompanying the previously issued 2022 Annual
          Financial Statements should no longer be relied upon.
 12
          The Company has previously identified and reported material
 13       weaknesses in internal controls over financial reporting related to the
          Company’s leases, control activities and control environment. During
 14       the on-going preparation of the Company’s financial statements for the
          fiscal year ended December 31, 2023, the Company’s management
 15       identified specific errors in the processes and procedures surrounding
          the Company’s assessment of the valuation and impairment of its ROU
 16       lease assets and related items. Upon additional review, the Company’s
          management determined that the valuation of certain ROU lease assets
 17       and related items as of and for each of the Non-Reliance Periods had
          not considered certain relevant impairment indicators and related
 18       valuation information impacting the carrying value of such assets and
          related items, as required by Accounting Standards Codification (ASC)
 19       Nos. 842, Leases, and 360, Property, Plant, and Equipment, in addition
          to related standards and interpretations.
 20
          The Company previously recorded an impairment charge in the amount
 21       of $1.1 million related to ROU lease assets in its unaudited condensed
          consolidated financial statements for the three and nine months ended
 22       September 30, 2023, but no impairment charges were recorded in the
          other interim financial statements in the Non-Reliance Periods or in the
 23       2022 Annual Financial Statements. Based on the Company’s review,
          which is ongoing, the Company expects to record material non-cash
 24       impairment charges, and related reductions in ROU lease assets and
          related items, in certain of the Non-Reliance Periods.
 25
          The foregoing ROU lease asset and related item errors are non-cash in
 26       nature and will not impact the Company’s reported cash balances or
          statements of cash flows for the Non-Reliance Periods. The Company
 27       expects that the restatements will increase the Company’s overall net
          loss and loss per share in the impacted periods.
 28

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  1       The Company intends to restate the Affected Financial Statements to
          correct the errors discussed above, and consider any other error
  2       corrections identified in the course of its review, as soon as practicable.
          Investors and others should rely on
  3
          financial information and other disclosures regarding the Non-Reliance
  4       Periods only after the Company restates its financial statements for the
          Non-Reliance Periods.
  5
          The Company anticipates that it will not timely file its Annual Report
  6       on Form 10-K for the fiscal year ended December 31, 2023 (the “FY
          2023 10-K”) and will file a notification of late filing on Form 12b-25
  7       with the SEC. The Company does not currently expect that it will file
          the FY 2023 10-K within the 15-day extension period contemplated by
  8       Rule 12b-25(b) under the Securities Exchange Act of 1934, as
          amended. Accordingly, the Company expects to receive a notice from
  9       The Nasdaq Stock Market that it is not in compliance with the timely
          filing requirement for continued listing under Nasdaq Listing Rule
 10       5250(c)(1). Such notification letter is not expected to have an
          immediate effect on the listing or trading of the Company’s common
 11       stock or publicly traded warrants on the Nasdaq Global Select Market.
 12       The description of the accounting errors and anticipated restatements
          above is preliminary and subject to change in connection with the
 13       Company’s ongoing review and the completion of the restatements.
          Accordingly, there can be no assurance as to the actual effects of the
 14       restatements or that the Company will not determine to restate any
          financial statements other than the Affected Financial Statements or
 15       will not identify any additional accounting errors.
 16       The Company’s management also is assessing the effect of the matters
          identified to date on the Company’s internal control over financial
 17       reporting and its disclosure controls and procedures. Although the
          assessment is not yet complete, the Company anticipates that the
 18       review will result in one or more material weaknesses in the
          Company’s internal control over financial reporting during the
 19       applicable periods, in addition to the Company’s previously identified
          and reported material weaknesses.
 20
          The Company’s management and the Audit Committee have discussed
 21       the foregoing matters with the Company’s independent registered
          public accounting firm, Deloitte & Touche LLP.
 22
          The Company’s restatement and the related items discussed in this
 23       Form 8-K could have an adverse effect upon the Company’s debt,
          including under the Loan and Security Agreement dated as of
 24       December 21, 2022, as amended, with Silicon Valley Bank, a division
          of First Citizens Bank & Trust Company, and the Note and Warrant
 25       Purchase Agreement dated as of December 10, 2021, as amended, with
          certain private placement investors. The Company is engaging in
 26       discussions with its lenders to seek waivers of any noncompliance
          under the terms of its debt resulting from the accounting errors and to
 27       permit the late filing of the FY 2023 10-K. If such waivers are not
          obtained, any such noncompliance may entitle our lenders to terminate
 28       any existing commitments to lend, impose increased interest rates,

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  1         accelerate our outstanding debt obligations, initiate foreclosure
            proceedings against any assets constituting collateral for such
  2         obligations and exercise other rights and remedies available under the
            terms of our debt agreements. If our debt were to be accelerated, the
  3         Company may not have sufficient cash or be able to borrow sufficient
            funds to refinance the debt or sell sufficient assets to repay the debt,
  4         which could immediately adversely affect our business, cash flows,
            results of operations and financial condition. Even if we were able to
  5         obtain new financing or negotiate amended terms with our existing
            lenders, such financing or amendments may not be on commercially
  6         reasonable terms or on terms that are acceptable to us.
  7         As of December 31, 2023, the Company’s total cash, cash equivalents
            and restricted cash was $136.5 million, of which $40.7 million was
  8         restricted, as compared to $207.2 million, of which $41.2 million was
            restricted, as of September 30, 2023. As communicated in prior
  9         disclosures, the Company has been executing on a number of initiatives
            to improve its financial position, including reducing its corporate
 10         headcount by 38% since the first quarter of 2022, and engaging in a
            portfolio optimization program to improve the financial performance of
 11         the properties it operates. The Company is also exploring a number of
            additional opportunities to improve revenue by enhancing its
 12         distribution arrangements, further reduce its expenditures, and partner
            with current or alternative capital providers to improve its liquidity
 13         position, but can give no assurances that these alternatives will be
            successful. If these alternatives are not successful, the Company may
 14         not be able to continue ongoing operations or meet its obligations
            without favorable liquidity options or additional funding.
 15
            56.    On this news, Sonder’s stock price fell $2.10 per share, or 38.2%, to
 16
      close at $3.40 per share on March 18, 2024, on unusually heavy trading volume.
 17
                              CLASS ACTION ALLEGATIONS
 18
            57.    Plaintiff brings this action as a class action pursuant to Federal Rule of
 19
      Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and
 20
      entities that purchased or otherwise acquired Sonder securities between May 11,
 21
      2022 and March 15, 2024, inclusive, and who were damaged thereby (the “Class”).
 22
      Excluded from the Class are Defendants, the officers and directors of the Company,
 23
      at all relevant times, members of their immediate families and their legal
 24
      representatives, heirs, successors, or assigns, and any entity in which Defendants
 25
      have or had a controlling interest.
 26
            58.    The members of the Class are so numerous that joinder of all members
 27
      is impracticable. Throughout the Class Period, Sonder’s shares actively traded on
 28

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  1 the NASDAQ. While the exact number of Class members is unknown to Plaintiff at

  2 this time and can only be ascertained through appropriate discovery, Plaintiff

  3 believes that there are at least hundreds or thousands of members in the proposed

  4 Class. Millions of Sonder shares were traded publicly during the Class Period on

  5 the NASDAQ. Record owners and other members of the Class may be identified

  6 from records maintained by Sonder or its transfer agent and may be notified of the

  7 pendency of this action by mail, using the form of notice similar to that customarily

  8 used in securities class actions.

  9         59.   Plaintiff’s claims are typical of the claims of the members of the Class
 10 as all members of the Class are similarly affected by Defendants’ wrongful conduct

 11 in violation of federal law that is complained of herein.

 12         60.   Plaintiff will fairly and adequately protect the interests of the members
 13 of the Class and has retained counsel competent and experienced in class and

 14 securities litigation.

 15         61.   Common questions of law and fact exist as to all members of the Class
 16 and predominate over any questions solely affecting individual members of the

 17 Class. Among the questions of law and fact common to the Class are:

 18               (a)    whether the federal securities laws were violated by Defendants’
 19 acts as alleged herein;

 20               (b)    whether statements made by Defendants to the investing public
 21 during the Class Period omitted and/or misrepresented material facts about the

 22 business, operations, and prospects of Sonder; and

 23               (c)    to what extent the members of the Class have sustained damages
 24 and the proper measure of damages.

 25         62.   A class action is superior to all other available methods for the fair and
 26 efficient adjudication of this controversy since joinder of all members is

 27 impracticable. Furthermore, as the damages suffered by individual Class members

 28 may be relatively small, the expense and burden of individual litigation makes it

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  1 impossible for members of the Class to individually redress the wrongs done to

  2 them. There will be no difficulty in the management of this action as a class action.

  3                         UNDISCLOSED ADVERSE FACTS
  4        63.    The market for Sonder’s securities was open, well-developed and
  5 efficient at all relevant times. As a result of these materially false and/or misleading

  6 statements, and/or failures to disclose, Sonder’s securities traded at artificially

  7 inflated prices during the Class Period. Plaintiff and other members of the Class

  8 purchased or otherwise acquired Sonder’s securities relying upon the integrity of the

  9 market price of the Company’s securities and market information relating to Sonder,
 10 and have been damaged thereby.

 11        64.    During the Class Period, Defendants materially misled the investing
 12 public, thereby inflating the price of Sonder’s securities, by publicly issuing false

 13 and/or misleading statements and/or omitting to disclose material facts necessary to

 14 make Defendants’ statements, as set forth herein, not false and/or misleading. The

 15 statements and omissions were materially false and/or misleading because they

 16 failed to disclose material adverse information and/or misrepresented the truth about

 17 Sonder’s business, operations, and prospects as alleged herein.

 18        65.    At all relevant times, the material misrepresentations and omissions
 19 particularized in this Complaint directly or proximately caused or were a substantial

 20 contributing cause of the damages sustained by Plaintiff and other members of the

 21 Class. As described herein, during the Class Period, Defendants made or caused to

 22 be made a series of materially false and/or misleading statements about Sonder’s

 23 financial well-being and prospects. These material misstatements and/or omissions

 24 had the cause and effect of creating in the market an unrealistically positive

 25 assessment of the Company and its financial well-being and prospects, thus causing

 26 the Company’s securities to be overvalued and artificially inflated at all relevant

 27 times. Defendants’ materially false and/or misleading statements during the Class

 28 Period resulted in Plaintiff and other members of the Class purchasing the

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  1 Company’s securities at artificially inflated prices, thus causing the damages

  2 complained of herein when the truth was revealed.

  3                                 LOSS CAUSATION
  4        66.    Defendants’ wrongful conduct, as alleged herein, directly and
  5 proximately caused the economic loss suffered by Plaintiff and the Class.

  6        67.    During the Class Period, Plaintiff and the Class purchased Sonder’s
  7 securities at artificially inflated prices and were damaged thereby. The price of the

  8 Company’s securities significantly declined when the misrepresentations made to

  9 the market, and/or the information alleged herein to have been concealed from the
 10 market, and/or the effects thereof, were revealed, causing investors’ losses.

 11                            SCIENTER ALLEGATIONS
 12        68.    As alleged herein, Defendants acted with scienter since Defendants
 13 knew that the public documents and statements issued or disseminated in the name

 14 of the Company were materially false and/or misleading; knew that such statements

 15 or documents would be issued or disseminated to the investing public; and

 16 knowingly and substantially participated or acquiesced in the issuance or

 17 dissemination of such statements or documents as primary violations of the federal

 18 securities laws. As set forth elsewhere herein in detail, the Individual Defendants,

 19 by virtue of their receipt of information reflecting the true facts regarding Sonder,

 20 their control over, and/or receipt and/or modification of Sonder’s allegedly

 21 materially misleading misstatements and/or their associations with the Company

 22 which made them privy to confidential proprietary information concerning Sonder,

 23 participated in the fraudulent scheme alleged herein.

 24              APPLICABILITY OF PRESUMPTION OF RELIANCE
 25                     (FRAUD-ON-THE-MARKET DOCTRINE)
 26        69.    The market for Sonder’s securities was open, well-developed and
 27 efficient at all relevant times. As a result of the materially false and/or misleading

 28 statements and/or failures to disclose, Sonder’s securities traded at artificially

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  1 inflated prices during the Class Period. On August 16, 2022, the Company’s stock

  2 price closed at a Class Period high of $51.00 per share. Plaintiff and other members

  3 of the Class purchased or otherwise acquired the Company’s securities relying upon

  4 the integrity of the market price of Sonder’s securities and market information

  5 relating to Sonder, and have been damaged thereby.

  6        70.    During the Class Period, the artificial inflation of Sonder’s shares was
  7 caused by the material misrepresentations and/or omissions particularized in this

  8 Complaint causing the damages sustained by Plaintiff and other members of the

  9 Class. As described herein, during the Class Period, Defendants made or caused to
 10 be made a series of materially false and/or misleading statements about Sonder’s

 11 business, prospects, and operations. These material misstatements and/or omissions

 12 created an unrealistically positive assessment of Sonder and its business, operations,

 13 and prospects, thus causing the price of the Company’s securities to be artificially

 14 inflated at all relevant times, and when disclosed, negatively affected the value of

 15 the Company shares.      Defendants’ materially false and/or misleading statements
 16 during the Class Period resulted in Plaintiff and other members of the Class

 17 purchasing the Company’s securities at such artificially inflated prices, and each of

 18 them has been damaged as a result.

 19        71.    At all relevant times, the market for Sonder’s securities was an efficient
 20 market for the following reasons, among others:

 21               (a)   Sonder shares met the requirements for listing, and was listed
 22 and actively traded on the NASDAQ, a highly efficient and automated market;

 23               (b)   As a regulated issuer, Sonder filed periodic public reports with
 24 the SEC and/or the NASDAQ;

 25               (c)   Sonder regularly communicated with public investors via
 26 established   market communication mechanisms, including through regular
 27 dissemination of press releases on the national circuits of major newswire services

 28

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  1 and through other wide-ranging public disclosures, such as communications with the

  2 financial press and other similar reporting services; and/or

  3                (d)   Sonder was followed by securities analysts employed by
  4 brokerage firms who wrote reports about the Company, and these reports were

  5 distributed to the sales force and certain customers of their respective brokerage

  6 firms.     Each of these reports was publicly available and entered the public
  7 marketplace.

  8          72.   As a result of the foregoing, the market for Sonder’s securities
  9 promptly digested current information regarding Sonder from all publicly available
 10 sources and reflected such information in Sonder’s share price. Under these

 11 circumstances, all purchasers of Sonder’s securities during the Class Period suffered

 12 similar injury through their purchase of Sonder’s securities at artificially inflated

 13 prices and a presumption of reliance applies.

 14          73.   A Class-wide presumption of reliance is also appropriate in this action
 15 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United

 16 States, 406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded

 17 on Defendants’ material misstatements and/or omissions.          Because this action
 18 involves Defendants’ failure to disclose material adverse information regarding the

 19 Company’s       business operations and financial prospects—information that
 20 Defendants were obligated to disclose—positive proof of reliance is not a

 21 prerequisite to recovery. All that is necessary is that the facts withheld be material

 22 in the sense that a reasonable investor might have considered them important in

 23 making investment decisions. Given the importance of the Class Period material

 24 misstatements and omissions set forth above, that requirement is satisfied here.

 25                                  NO SAFE HARBOR
 26          74.   The statutory safe harbor provided for forward-looking statements
 27 under certain circumstances does not apply to any of the allegedly false statements

 28 pleaded in this Complaint. The statements alleged to be false and misleading herein

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  1 all relate to then-existing facts and conditions. In addition, to the extent certain of

  2 the statements alleged to be false may be characterized as forward looking, they

  3 were not identified as “forward-looking statements” when made and there were no

  4 meaningful cautionary statements identifying important factors that could cause

  5 actual results to differ materially from those in the purportedly forward-looking

  6 statements. In the alternative, to the extent that the statutory safe harbor is

  7 determined to apply to any forward-looking statements pleaded herein, Defendants

  8 are liable for those false forward-looking statements because at the time each of

  9 those forward-looking statements was made, the speaker had actual knowledge that
 10 the forward-looking statement was materially false or misleading, and/or the

 11 forward-looking statement was authorized or approved by an executive officer of

 12 Sonder who knew that the statement was false when made.

 13                                       FIRST CLAIM
 14                 Violation of Section 10(b) of The Exchange Act and
 15                         Rule 10b-5 Promulgated Thereunder
 16                                 Against All Defendants
 17        75.    Plaintiff repeats and re-alleges each and every allegation contained
 18 above as if fully set forth herein.

 19        76.    During the Class Period, Defendants carried out a plan, scheme and
 20 course of conduct which was intended to and, throughout the Class Period, did: (i)

 21 deceive the investing public, including Plaintiff and other Class members, as alleged

 22 herein; and (ii) cause Plaintiff and other members of the Class to purchase Sonder’s

 23 securities at artificially inflated prices. In furtherance of this unlawful scheme, plan

 24 and course of conduct, Defendants, and each defendant, took the actions set forth

 25 herein.

 26        77.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii)
 27 made untrue statements of material fact and/or omitted to state material facts

 28 necessary to make the statements not misleading; and (iii) engaged in acts, practices,

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  1 and a course of business which operated as a fraud and deceit upon the purchasers of

  2 the Company’s securities in an effort to maintain artificially high market prices for

  3 Sonder’s securities in violation of Section 10(b) of the Exchange Act and Rule 10b-

  4 5. All Defendants are sued either as primary participants in the wrongful and illegal

  5 conduct charged herein or as controlling persons as alleged below.

  6        78.    Defendants, individually and in concert, directly and indirectly, by the
  7 use, means or instrumentalities of interstate commerce and/or of the mails, engaged

  8 and participated in a continuous course of conduct to conceal adverse material

  9 information about Sonder’s financial well-being and prospects, as specified herein.
 10        79.    Defendants employed devices, schemes and artifices to defraud, while
 11 in possession of material adverse non-public information and engaged in acts,

 12 practices, and a course of conduct as alleged herein in an effort to assure investors of

 13 Sonder’s value and performance and continued substantial growth, which included

 14 the making of, or the participation in the making of, untrue statements of material

 15 facts and/or omitting to state material facts necessary in order to make the

 16 statements made about Sonder and its business operations and future prospects in

 17 light of the circumstances under which they were made, not misleading, as set forth

 18 more particularly herein, and engaged in transactions, practices and a course of

 19 business which operated as a fraud and deceit upon the purchasers of the Company’s

 20 securities during the Class Period.

 21        80.    Each of the Individual Defendants’ primary liability and controlling
 22 person liability arises from the following facts: (i) the Individual Defendants were

 23 high-level executives and/or directors at the Company during the Class Period and

 24 members of the Company’s management team or had control thereof; (ii) each of

 25 these defendants, by virtue of their responsibilities and activities as a senior officer

 26 and/or director of the Company, was privy to and participated in the creation,

 27 development and reporting of the Company’s internal budgets, plans, projections

 28 and/or reports; (iii) each of these defendants enjoyed significant personal contact

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  1 and familiarity with the other defendants and was advised of, and had access to,

  2 other members of the Company’s management team, internal reports and other data

  3 and information about the Company’s finances, operations, and sales at all relevant

  4 times; and (iv) each of these defendants was aware of the Company’s dissemination

  5 of information to the investing public which they knew and/or recklessly

  6 disregarded was materially false and misleading.

  7        81.   Defendants had actual knowledge of the misrepresentations and/or
  8 omissions of material facts set forth herein, or acted with reckless disregard for the

  9 truth in that they failed to ascertain and to disclose such facts, even though such
 10 facts were available to them. Such defendants’ material misrepresentations and/or

 11 omissions were done knowingly or recklessly and for the purpose and effect of

 12 concealing Sonder’s financial well-being and prospects from the investing public

 13 and supporting the artificially inflated price of its securities. As demonstrated by

 14 Defendants’ overstatements and/or misstatements of the Company’s business,

 15 operations, financial well-being, and prospects throughout the Class Period,

 16 Defendants, if they did not have actual knowledge of the misrepresentations and/or

 17 omissions alleged, were reckless in failing to obtain such knowledge by deliberately

 18 refraining from taking those steps necessary to discover whether those statements

 19 were false or misleading.

 20        82.   As a result of the dissemination of the materially false and/or
 21 misleading information and/or failure to disclose material facts, as set forth above,

 22 the market price of Sonder’s securities was artificially inflated during the Class

 23 Period. In ignorance of the fact that market prices of the Company’s securities were

 24 artificially inflated, and relying directly or indirectly on the false and misleading

 25 statements made by Defendants, or upon the integrity of the market in which the

 26 securities trades, and/or in the absence of material adverse information that was

 27 known to or recklessly disregarded by Defendants, but not disclosed in public

 28 statements by Defendants during the Class Period, Plaintiff and the other members

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  1 of the Class acquired Sonder’s securities during the Class Period at artificially high

  2 prices and were damaged thereby.

  3        83.    At the time of said misrepresentations and/or omissions, Plaintiff and
  4 other members of the Class were ignorant of their falsity, and believed them to be

  5 true. Had Plaintiff and the other members of the Class and the marketplace known

  6 the truth regarding the problems that Sonder was experiencing, which were not

  7 disclosed by Defendants, Plaintiff and other members of the Class would not have

  8 purchased or otherwise acquired their Sonder securities, or, if they had acquired

  9 such securities during the Class Period, they would not have done so at the
 10 artificially inflated prices which they paid.

 11        84.    By virtue of the foregoing, Defendants violated Section 10(b) of the
 12 Exchange Act and Rule 10b-5 promulgated thereunder.

 13        85.    As a direct and proximate result of Defendants’ wrongful conduct,
 14 Plaintiff and the other members of the Class suffered damages in connection with

 15 their respective purchases and sales of the Company’s securities during the Class

 16 Period.

 17                                   SECOND CLAIM
 18                    Violation of Section 20(a) of The Exchange Act
 19                           Against the Individual Defendants
 20        86.    Plaintiff repeats and re-alleges each and every allegation contained
 21 above as if fully set forth herein.

 22        87.    Individual Defendants acted as controlling persons of Sonder within the
 23 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their

 24 high-level positions and their ownership and contractual rights, participation in,

 25 and/or awareness of the Company’s operations and intimate knowledge of the false

 26 financial statements filed by the Company with the SEC and disseminated to the

 27 investing public, Individual Defendants had the power to influence and control and

 28 did influence and control, directly or indirectly, the decision-making of the

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  1 Company, including the content and dissemination of the various statements which

  2 Plaintiff contends are false and misleading. Individual Defendants were provided

  3 with or had unlimited access to copies of the Company’s reports, press releases,

  4 public filings, and other statements alleged by Plaintiff to be misleading prior to

  5 and/or shortly after these statements were issued and had the ability to prevent the

  6 issuance of the statements or cause the statements to be corrected.

  7        88.    In particular, Individual Defendants had direct and supervisory
  8 involvement in the day-to-day operations of the Company and, therefore, had the

  9 power to control or influence the particular transactions giving rise to the securities
 10 violations as alleged herein, and exercised the same.

 11        89.    As set forth above, Sonder and Individual Defendants each violated
 12 Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this

 13 Complaint. By virtue of their position as controlling persons, Individual Defendants

 14 are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

 15 result of Defendants’ wrongful conduct, Plaintiff and other members of the Class

 16 suffered damages in connection with their purchases of the Company’s securities

 17 during the Class Period.

 18                               PRAYER FOR RELIEF
 19        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 20        (a)    Determining that this action is a proper class action under Rule 23 of
 21 the Federal Rules of Civil Procedure;

 22        (b)    Awarding compensatory damages in favor of Plaintiff and the other
 23 Class members against all defendants, jointly and severally, for all damages

 24 sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,

 25 including interest thereon;

 26        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses
 27 incurred in this action, including counsel fees and expert fees; and

 28        (d)    Such other and further relief as the Court may deem just and proper.

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                                                28
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  1                            JURY TRIAL DEMANDED
  2       Plaintiff hereby demands a trial by jury.
  3

  4 DATED: June 7, 2024                   GLANCY PRONGAY & MURRAY LLP
  5
                                          By: /s/ Charles H. Linehan
  6                                       Robert V. Prongay
  7                                       Charles H. Linehan
                                          Pavithra Rajesh
  8                                       1925 Century Park East, Suite 2100
  9                                       Los Angeles, California 90067
                                          Telephone: (310) 201-9150
 10                                       Facsimile: (310) 201-9160
 11                                       Email: clinehan@glancylaw.com

 12                                       Attorneys for Plaintiff Tad Park
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                   SWORN CERTIFICATION OF PLAINTIFF
            SONDER HOLDINGS INC. (SOND) SECURITIES LITIGATION


      I, Tad Park, certify that:

      1.      I have reviewed the Complaint, adopt its allegations, and authorize its filing
              and/or the filing of a lead plaintiff motion on my behalf.

      2.      I did not purchase the Sonder Holdings Inc. securities that are the subject of this
              action at the direction of plaintiffs counsel or in order to participate in any private
              action arising under this title.

      3.      I am willing to serve as a representative party on behalf of a class and will testify
              at deposition and trial, if necessary.

      4.      My transactions in Sonder Holdings Inc. securities during the period set forth in
              the Complaint are as follows:

              (See attached transactions)

      5.      I have not sought to serve, nor served, as a representative party on behalf of a
              class under this title during the last three years, except for the following:

      6.      I will not accept any payment for serving as a representative party, except to
              receive my pro rata share of any recovery or as ordered or approved by the court,
              including the award to a representative plaintiff of reasonable costs and expenses
              (including lost wages) directly relating to the representation of the class.


      I declare under penalty of perjury that the foregoing are true and correct statements.




      6/6/2024

           Date                               Tad Park
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                 Tad Park's Transactions in Sonder Holdings Inc. (SOND)

                                 Account 1 Common Stock
           Date         Transaction Type        Quantity               Unit Price
             6/9/2022       Bought                         4,599              $1.7650
             6/9/2022       Bought                        28,135              $1.7700
            6/13/2022       Bought                        50,000              $1.7000
            7/11/2022       Bought                         3,045              $0.9300
            7/12/2022       Bought                        11,246              $0.9300
            7/13/2022       Bought                        65,709              $0.9300
             8/3/2022       Bought                       130,000              $1.6700


                                 Account 2 Common Stock
           Date         Transaction Type        Quantity               Unit Price
             6/2/2022       Bought                        1,100               $2.5600
             6/2/2022       Bought                       28,900               $2.5700
            8/11/2022       Bought                       86,805               $2.4300
            8/11/2022       Bought                        1,000               $2.4200
            8/11/2022       Bought                        1,083               $2.4000


                                    Account 2 Warrants
           Date         Transaction Type          Quantity             Unit Price
             6/2/2022         Sold                         -37,494            $0.4300
            7/31/2023       Bought                          79,964            $0.0360
             8/3/2023       Bought                           2,819            $0.0360
             8/7/2023       Bought                           5,300            $0.0360
             8/9/2023       Bought                             100            $0.0360
            8/11/2023       Bought                          14,800            $0.0360
            8/14/2023       Bought                              28            $0.0360
            9/13/2023       Bought                         396,989            $0.0360


                                 Account 3 Common Stock
           Date         Transaction Type        Quantity               Unit Price
            5/19/2022       Bought                         2,600              $1.7896
             6/2/2022       Bought                           100              $2.6150
             6/2/2022       Bought                        49,900              $2.6200
             6/9/2022       Bought                         4,400              $1.7750
             6/9/2022       Bought                         8,849              $1.7800
            7/14/2022       Bought                       100,000              $0.9100
            8/10/2022       Bought                             2              $2.1900
            8/11/2022       Bought                         5,685              $2.5100
            8/11/2022       Bought                           433              $2.5300
            8/11/2022       Bought                        39,734              $2.5200
            8/11/2022       Bought                           100              $2.4250
            8/11/2022       Bought                        45,602              $2.4350
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           Date         Transaction Type          Quantity             Unit Price
            8/11/2022       Bought                           1,488            $2.5000
            8/11/2022       Bought                           3,500            $2.4450
            8/11/2022       Bought                           5,200            $2.4200
            8/11/2022       Bought                         382,632            $2.5400
            8/11/2022       Bought                             900            $2.4900
            8/11/2022       Bought                           2,200            $2.4800
            8/11/2022       Bought                             100            $2.4499
            8/11/2022       Bought                           3,100            $2.4700
            8/11/2022       Bought                           4,100            $2.4600
            8/11/2022       Bought                          11,804            $2.4500
            8/11/2022       Bought                          24,337            $2.4400
            8/11/2022       Bought                          31,485            $2.4300
            8/11/2022       Bought                           6,455            $2.4000
            8/11/2022       Bought                           1,145            $2.4100
            11/9/2022         Sold                         -20,366            $2.0200
           11/16/2022         Sold                            -300            $1.8700
           12/30/2022         Sold                        -146,456            $1.0800
           12/30/2022         Sold                            -600            $1.0850
           12/30/2022         Sold                         -12,330            $1.0900
           12/30/2022         Sold                         -20,677            $1.1000
           12/30/2022         Sold                              -7            $1.1150
           12/30/2022         Sold                          -4,930            $1.1100
             3/1/2023       Bought                          94,300            $1.0200
             3/1/2023       Bought                           5,700            $1.0150


                                    Account 3 Warrants
           Date         Transaction Type          Quantity             Unit Price
            5/12/2022         Sold                         -25,351            $0.2700
            5/12/2022         Sold                            -100            $0.2715
            5/12/2022         Sold                          -2,200            $0.2800
            5/12/2022         Sold                            -100            $0.2682
            5/12/2022         Sold                       -399,500             $0.2600
            5/12/2022         Sold                            -400            $0.2800
             6/1/2022       Bought                             207            $0.4050
             6/1/2022       Bought                             364            $0.4051
             6/1/2022       Bought                             300            $0.3951
             6/1/2022       Bought                             129            $0.3851
             6/2/2022       Bought                          37,294            $0.4300
             6/2/2022       Bought                             100            $0.4223
             6/2/2022       Bought                             300            $0.4098
             6/2/2022       Bought                             100            $0.4082
             6/2/2022       Bought                           1,780            $0.4100
             6/2/2022       Bought                             100            $0.4009
             6/2/2022       Bought                         400,326            $0.3600
            7/14/2022         Sold                            -449            $0.1600
            7/14/2022         Sold                            -100            $0.1600
            7/27/2022         Sold                       -436,441             $0.1700
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               Date          Transaction Type          Quantity              Unit Price
                7/27/2022          Sold                           -3,000            $0.1750
                7/27/2022          Sold                           -1,000            $0.1701
                7/27/2022          Sold                              -10            $0.1850


                                         Account 3 Options
 Date     Transaction Type    Contract Type          Exp / Strike            Quantity          Price
 2/7/2022 Bought To Open          Call           Sep 16, 2022 / $12.50                    40      $0.95
 3/9/2022 Bought To Open          Call             Sep 16, 2022 / $10                    400      $0.30
9/19/2022     Expired             Call           Sep 16, 2022 / $12.50                   -40      $0.00
9/19/2022     Expired             Call             Sep 16, 2022 / $10                   -400      $0.00
